Case 2:05-Cr-20132-BBD Document 18 Filed 05/23/05 Page 1 of 2 Page|D 17

 
 
   

iN THE uNlTED sTATEs DisTRlcT couRT “ ‘ ~ ‘ 911
FOR THE WEsTr-;RN DlsTRlcT oF TENNEssEE 55 ;_-i»liir, ;,,, pc F
MEMPHIs DlvlsioN ‘“ ‘ # f ’ ii 19 15
uNiTED sTATEs oF AMERiCA § z_¢ .
P|aintlff § W'l'" `“ ’i"J- =i"FE='=iir-,‘\;§S
§ cRiM. No_z:oscr20132-
vs. §
§
§
RlCHARD EsTEvANEs §
oRDER

on this ,?d'*- day of jH/zg, , 20051 came to be heard the
foregoing Defendant’s Waiver of Appearance at his |nitia|
AppearancelArraignment Hearing and after reviewing said motion it is the opinion

of this Court that said motion is hereby:

[ /]€ranted

[ ] Denied.

SlGNED AND ENTERED this 20thde Of ll |!‘\§1 , 2005
§.r/-F!MM= //00€011/

UN|TED STATES MAG|STRATE JUDGE

_ . /_
ihis document entered on the docket sPeeti cor.;pliance
with Hu|e bc`- ami/or 32(b} FRCrP on J'Q/%ZQ

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 18 in
case 2:05-CR-20132 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Charles A. Banker
3 12 Lindberg
McAllen, TX 78501

Honorable Bernice Donald
US DISTRICT COURT

